Case 3:22-cv-00014-N-BK Document 1-4 Filed 01/04/22   Page 1 of 10 PageID 11




                      EXHIBIT C
            STATE COURT DOCUMENTS
              CAUSE NO. JS21-00379D
Case 3:22-cv-00014-N-BK Document 1-4 Filed 01/04/22   Page 2 of 10 PageID 12




                          TAB 1
      Plaintiff’s Small Claims Petition
Case 3:22-cv-00014-N-BK Document 1-4 Filed 01/04/22   Page 3 of 10 PageID 13
Case 3:22-cv-00014-N-BK Document 1-4 Filed 01/04/22   Page 4 of 10 PageID 14
Case 3:22-cv-00014-N-BK Document 1-4 Filed 01/04/22   Page 5 of 10 PageID 15
Case 3:22-cv-00014-N-BK Document 1-4 Filed 01/04/22   Page 6 of 10 PageID 16
Case 3:22-cv-00014-N-BK Document 1-4 Filed 01/04/22   Page 7 of 10 PageID 17
Case 3:22-cv-00014-N-BK Document 1-4 Filed 01/04/22   Page 8 of 10 PageID 18
Case 3:22-cv-00014-N-BK Document 1-4 Filed 01/04/22   Page 9 of 10 PageID 19




                          TAB 2
                             Citation
Case 3:22-cv-00014-N-BK Document 1-4 Filed 01/04/22   Page 10 of 10 PageID 20
